Case 1:17-cv-02186-WYD-MEH Document 25 Filed 01/10/18 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                              Senior Judge Wiley Y. Daniel

  Civil Action No.    17-cv-02186-WYD-MEH

  POW NEVADA, LLC,

         Plaintiff,

  v.

  JOHN DOES 1-11, 13-15, 17, 19-20,

         Defendants.


                       ORDER OF DISMISSAL WITHOUT PREJUDICE


         In accordance with Plaintiff's Notice of Voluntary Dismissal Without Prejudice of

  Defendants John Doe 1, John Doe 2, John Doe 3, John Doe 4, John Doe 6, John Doe 7,

  John Doe 8, John Doe 9, John Doe 10, John Doe 11, John Doe 13, John Doe 14, John

  Doe 15, John Doe 17, John Doe 19, and John Doe 20 Pursuant to Fed. R. Civ. P.

  41(a)(1)(A)(i) (ECF No. 24), filed on January 9, 2017, it is hereby

         ORDERED that Defendant John Doe 1, Defendant John Doe 2, Defendant John

  Doe 3, Defendant John Doe 4, Defendant John Doe 6, Defendant John Doe 7, Defendant

  John Doe 8, Defendant John Doe 9, Defendant John Doe 10, Defendant John Doe 11,

  Defendant John Doe 13, Defendant John Doe 14, Defendant John Doe 15, Defendant

  John Doe 17, Defendant John Doe 19, or Defendant John Doe 20 are DISMISSED

  WITHOUT PREJUDICE and shall hereafter be taken off the caption.




                                               1
Case 1:17-cv-02186-WYD-MEH Document 25 Filed 01/10/18 USDC Colorado Page 2 of 2




        Dated: January 10, 2018.

                                    BY THE COURT:



                                    s/ Wiley Y. Daniel
                                    WILEY Y. DANIEL,
                                    SENIOR UNITED STATES DISTRICT JUDGE




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